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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

CHARLES P. CHAPEAU and DARLA                        )
CHAPEAU,                                            )
                                                    )
       Plaintiffs,                                  )
                                                    )
V.                                                  )       CIVIL ACTION NO. SA-22-CA-432-FB
                                                    )
CARRINGTON MORTGAGE SERVICES,                       )
LLC,                                                )
                                                    )
       Defendant.                                   )

         ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME
                 AND ORDER OF ADMINISTRATIVE CLOSURE

       Before the Court is Defendant’s Unopposed Motion to Extend Time to Respond to Plaintiffs’

Original Petition and Application for Temporary Restraining Order, filed on May 10, 2022. (Docket

no. 3). Through the date of the filing of this motion, the parties have been actively exploring the

possibility of resolving their dispute. So that the parties may continue their efforts to resolve their

dispute, Defendant asks that the Court extend the deadlines for it to respond to Plaintiff’s Original

Petition and Application for Temporary Restraining Order until June 10, 2022. After careful

consideration, the Court is of the opinion that this request should be granted.

       Because this case cannot move forward until Defendant has answered or otherwise responded

to Plaintiffs’ complaint, the Court finds this case is appropriate for administrative closure. See Mire v.

Full Spectrum Lending, Inc., 389 F.3d 163, 167 (5th Cir. 2014) ("District courts frequently make use

of this device to remove from their pending cases suits which are temporarily active elsewhere (such

as before an arbitration panel) or stayed (such as where a bankruptcy is pending). The effect of an

administrative closure is no different from a simple stay . . . .").
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       Accordingly, IT IS HEREBY ORDERED that Defendant’s Unopposed Motion to Extend

Time to Respond to Plaintiffs’ Original Petition and Application for Temporary Restraining Order

(docket no. 3) is GRANTED such that Defendant shall respond to Plaintiff’s Original Petition and

Application for Temporary Restraining Order on or before June 10, 2022.

       IT IS FURTHER ORDERED that the Clerk's office is DIRECTED to administratively close

this case pending further order of the Court. Though administratively closed, this case will still

exist on the docket of this Court and may be reopened upon request or on the Court's own motion.

Parties may continue to file motions and documents in the case.

       It is so ORDERED.

       SIGNED this 11th day of May, 2022.


                                   _________________________________________________
                                      FRED BIERY
                                      UNITED STATES DISTRICT JUDGE




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